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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA

NANCI M. GOLDBERG,                                                    2:22-cv-141
                                                    Civil Action No. ____________________

                      Plaintiff,

       v.

FOX CHAPEL AREA SCHOOL DISTRICT,

                      Defendant.                    JURY TRIAL DEMANDED


                                          COMPLAINT

       Plaintiff, Nanci M. Goldberg, by undersigned counsel, files this Complaint and in

support alleges the following.

                                          I. Jurisdiction

       1.      The jurisdiction of this Court is invoked pursuant to the Age Discrimination

in Employment Act, 29 U.S.C. §626(c)(1), and 28 U.S.C. §§1331 and 1343(a)(4).

                                            II. Venue

       2.      Venue is proper in the Western District of Pennsylvania, in that this action

arises out of events that occurred in the Allegheny County.

                                   III. Administrative Remedies

       3.      Goldberg has satisfied all procedural and administrative requirements set

forth in 29 U.S.C. §626 in that:

               a.     On or about June 21, 2021, Goldberg filed a timely
                      charge with the EEOC alleging age discrimination.

               b.     On or about June 21, 2021, Goldberg filed a timely
                      Complaint of Discrimination with the Pennsylvania
                      Human Relations Commission (PHRC) alleging age
                      discrimination.
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              c.     Plaintiff received a Notification of Dismissal from the
                     EEOC dated November 3, 2021.

              d.     This case was filed more than 60 days after filing of the
                     EEOC charge and within 90 days of receipt of the
                     Notification of Dismissal.

                                       IV. Parties

      4.      Goldberg is an adult individual who resides in Allegheny County,

Pennsylvania.

      5.      Defendant, Fox Chapel Area School District, is a school district and political

subdivision of the Commonwealth of Pennsylvania with its principal place of business at

611 Field Club Road, Pittsburgh, Pennsylvania 15238.

      6.      At all times relevant hereto, Defendant is and was an employer within the

meaning of 29 U.S.C. §630(b), in that it is engaged in an industry affecting interstate

commerce and employs more than 20 employees.

      7.      At all times relevant hereto, Defendant acted or failed to act by and through

its duly authorized agents, servants and employees, who conducted themselves within

the scope and course of their employment.

                                         V. Facts

      8.      Goldberg started working for Defendant in January 1992 as an Art Teacher.

      9.      For the past 28 years, Goldberg was assigned to the Middle School.

      10.     Goldberg also held two additional positions as Department Head and Middle

School Calendar Facilitator.

      11.     At all times during her employment, Goldberg worked diligently and

exhibited a high level of professionalism and competence, while being a well-known and

highly respected educator who has received many accolades for the good work she has

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done with the Middle School students and for the community.

      12.       As Middle School Department Head, Goldberg was constantly writing and

refining the Middle School curriculum.

      13.       Goldberg also co-founded a mental health project called The Positive

Painting Project which focuses on the mental wellbeing of Middle School students and

also started a small, free art gallery with a then-current Middle School student and his

parent.

      14.       On May 25, 2021, Program Principal Laura Miller met with Goldberg and

the other two Middle School Art Teachers and told them that she needed “a volunteer” to

transfer to teach at the Elementary School level.

      15.       Three hours later, Middle School Principal Jonathan Nauhaus told one of

the other two Middle School Art Teachers, who is significantly younger and much less

tenured, not to apply for the Elementary School position because she is “not the person

who’s going”.

      16.       Nauhaus’ statement completely contradicts Miller’s statement that she

needed someone to volunteer to transfer.

      17.       Unlike Goldberg, this significantly younger Middle School Art Teacher would

be well suited to teach at the Elementary School level, due her having done so for three

of her six years of teaching for Defendant.

      18.       On June 3, 2021, without holding a mandatory conference per the term of

the collective bargaining agreement, Miller verbally informed Goldberg that she would be

involuntarily transferred to one of Defendant’s Elementary Schools.

      19.       Miller also failed to provide Goldberg with a specific reason for Defendant’s



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decision to transfer her, also in violation of the collective bargaining agreement.

       20.      In response to being told of Defendant’s decision to transfer her, Goldberg

told Miller that the decision was based on her age.

       21.      Rather than address Goldberg’s allegation, Miller recited a conclusion that

the decision to transfer Goldberg was “what is best” for Defendant and the students and

that the decision was “a business decision” and “not personal”.

       22.      Goldberg asked Miller if Defendant was trying to get rid of her.

       23.      Miller did not respond to Goldberg’s question and instead recited the same

rationale above.

       24.      On June 7, 2021, Goldberg met with Defendant’s Deputy Superintendent,

Dr. David P. McCommons, to discuss the transfer.

       25.      McCommons likewise failed to provide Goldberg with a specific reason for

the decision.

       26.      In anticipation of the upcoming June 14, 2021 School Board meeting,

Goldberg’s legal counsel contacted Defendant’s solicitor, through a letter dated June 10,

2021, to complain that this decision was age-based.

       27.      On June 15, 2021, McCommons, emailed Goldberg written confirmation of

the decision to involuntarily transfer Goldberg from the Middle School to an Elementary

School.

       28.      Defendant’s Policy No. 309 provides for the following factors Defendant is

to consider when involuntarily transferring a Teacher:

                (a)   The impact of the proposed assignment on the
                      educational program;




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                (b)   The employee’s background,            experience     and
                      preparation for the position;

                (c)   The employee’s success in the former position;

                (d)   The employee’s length of service in Respondent and in
                      the position presently held;

                (e)   The recommendation of the employee’s administrative
                      supervisors; and

                (f)   The administrative and operational             efficiency
                      advanced by the proposed assignment.

          29.   The above factors point to Goldberg being the least logical choice to be

chosen for the involuntary transfer.

          30.   Defendant treated other similarly situated teachers, who are significantly

younger, more favorably than Goldberg by not forcing them to transfer from the Middle or

High Schools.

          31.   Defendant’s decision to transfer Goldberg was an adverse employment

action.

          32.   Defendant’s action was adverse in part because:

                (a)   Goldberg’s nearly three-decades-long skill set focused
                      on teaching middle school students;

                (b)   Goldberg was not properly equipped to teach a
                      completely different population;

                (c)   Goldberg would be disadvantaged by being working in
                      an Elementary School while fulfilling the requirements
                      of being Middle School Department Head and Middle
                      School Calendar Facilitator; and

                (d)   Goldberg did not receive proper or sufficient training to
                      use the processes and procedures in place in the
                      Elementary School.

          33.   As a result of being involuntarily transferred, Goldberg was forced to take a

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year-long sabbatical at a reduced rate of pay due to her extreme emotional distress.

                                         Count I - ADEA

       34.    Goldberg incorporates paragraphs 1 through 33 as though the same had

been fully set forth at length herein.

       35.    Defendant transferred Goldberg because of her age, in violation of the Age

Discrimination in Employment Act, 29 U.S.C. §623(a)(1).

       36.    Defendant’s violation of the ADEA was willful.

       WHEREFORE, Goldberg demands judgment as follows:

              a.     That Defendant be ordered to reinstate Plaintiff into a
                     suitable position, together with all benefits incident
                     thereto, including, but not limited to wages, benefits,
                     training and seniority;

              b.     That Defendant be required to compensate Plaintiff for
                     the full value of wages, she would have received had it
                     not been for Defendant’s illegal treatment of Plaintiff,
                     with interest until the date Plaintiff is offered
                     employment into a position substantially equivalent to
                     the ones which Plaintiff was denied;

              c.     That Defendant be required to provide Plaintiff with
                     front pay;

              d.     That Defendant be required to compensate Plaintiff for
                     lost benefits, including pension benefits until Plaintiff’s
                     normal retirement date;

              e.     That a final judgment in favor of Plaintiff and against
                     Defendant be entered for liquidated damages in an
                     amount equal to the amount of wages due and owing
                     Plaintiff as provided by 29 U.S.C. §626(b) and 216(b);

              f.     That Defendant be enjoined from discriminating
                     against Plaintiff in any manner that violates the ADEA;

              g.     That Plaintiff be awarded against Defendant the costs
                     and expenses of this litigation and a reasonable
                     attorney fee; and

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              h.     That Plaintiff be granted such further legal and
                     equitable relief as the Court may deem just and proper.

                               Count II – ADEA Retaliation

       37.    Goldberg incorporates paragraphs 1 through 36 as though the same had

been fully set forth at length herein.

       38.    Goldberg engaged in protected activity by complaining that Defendant’s

decision to transfer her was illegal and based on her age.

       39.    Defendant transferred Goldberg because of her protected activity in

violation of the Age Discrimination in Employment Act, 29 U.S.C. §623(a)(1).

       40.    Defendant’s violation of the ADEA was willful.

       WHEREFORE, Goldberg demands judgment as follows:

              a.     That Defendant be ordered to reinstate Plaintiff into a
                     suitable position, together with all benefits incident
                     thereto, including, but not limited to wages, benefits,
                     training and seniority;

              b.     That Defendant be required to compensate Plaintiff for
                     the full value of wages, she would have received had it
                     not been for Defendant’s illegal treatment of Plaintiff,
                     with interest until the date Plaintiff is offered
                     employment into a position substantially equivalent to
                     the ones which Plaintiff was denied;

              c.     That Defendant be required to provide Plaintiff with
                     front pay;

              d.     That Defendant be required to compensate Plaintiff for
                     lost benefits, including pension benefits until Plaintiff’s
                     normal retirement date;

              e.     That a final judgment in favor of Plaintiff and against
                     Defendant be entered for liquidated damages in an
                     amount equal to the amount of wages due and owing
                     Plaintiff as provided by 29 U.S.C. §626(b) and 216(b);



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   f.    That Defendant be enjoined from discriminating
         against Plaintiff in any manner that violates the ADEA;

   g.    That Plaintiff be awarded against Defendant the costs
         and expenses of this litigation and a reasonable
         attorney fee; and

   h.    That Plaintiff be granted such further legal and
         equitable relief as the Court may deem just and proper.



                                    Respectfully submitted:

                                    /s/ Colleen E. Ramage
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